Case 1:99-cvf84952-AMD Document 6 Filed 10/2609 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JEFFREY GORDON, etc., *
Plaintiffs
xk
Vs. Civil No.: AMD 99-1952
FT
CONDOR TECHNOLOGY
SOLUTIONS, INC., et al., * Ime ——— ENTERED
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Defendants
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(LOCAL RULE 111.1) wv ee emny

The parties having failed to respond to this court’s order of August 26, 1999, thereby
indicating that the above action has been settled, including all counterclaims, cross-claims and
third-party claims, if any. Accordingly, pursuant to Local Rule 111.1 it is ORDERED that:

This action is hereby dismissed and each party is to bear its own costs unless otherwise
agreed, in which event the costs shall be adjusted between the parties in accordance with their
agreement. The entry of this Order is without prejudice to the right of a party to move for good
cause within 30 days to reopen this action if settlement is not consummated. If no party moves
to reopen, the dismissal shall be with prejudice.

IT IS FURTHER ORDERED that:

The Clerk of the Court shall mail copies of this Order to counsel of record.

Andre M. Davis
United States District Judge

 

U.S. District Court (Rev. 9/98) - Settlement Order Local Rule jl

 
